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IN THE UNITED STATES DIS'I`RICT COURT
FOR THE SOUTHERN DISTRICT OF IOWA

 

CENTRAL DIVISION
ARTHUR BONIFIELD, : Civil Action No.
Plaintiff,
vs.

WELTMAN, WEINBERG & REIS CO.,
L.P.A.,

Defendant.

 

COMPLAINT
Arthur Bonifield, by his attorney Ray Johnson, for his claims against the Defendant
StateSZ
I. INTRODUCTION
1. This is an action for damages brought by an individual consumer for Defendant’s violations
of the F air Debt Collection Practices Act, 15 U.S.C. § 1692, et seq. (hereinafter “FDCPA”)
and the lowa Unlawful Debt Collection Practices Act, Iowa Code § 537.7103, et seq. Which
prohibit debt collectors from engaging in abusive, deceptive, and unfair practices
II. JURSIDICTION AND VENUE
2. Jurisdiction of this Court arises under 15 U.S.C. § l692k(d), 28 U.S.C. § 1337, and
supplemental jurisdiction exists for the state law claims pursuant to 28 U.S.C. § 1367. Venue
in this Distn'ct is proper in that the Defendant transacts business here and the conduct
complained of occurred here.
III. PARTIES

3. Plaintiff Arthur Bonifield is a natural person residing in Des Moines, Iowa.

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4. Defendant Weltman, Weinberg & Reis Co., L.P.A. does business in Iowa with its principle
place of business located in Columbus, Ohio.

IV. FACTUAL ALLEGATIONS

5. Weltrnan, Weinberg & Reis Co., LPA is attempting to collect an alleged debt from Bonifield.
The debt allegedly originated from a Chase Bank account.

6. On August 2, 2011, Boniiield’s attorney sent a letter to the Defendant. The letter informed
Weltman, Weingberg & Reis Co., LPA that he represents Boniiield regarding the account
and all further communication with Bonnstetter should cease immediately or be directed to
his attorney.

7. Despite the cease and desist letter, Weltman, Weinberg & Reis., LPA directly contacted
Bonif`leld on multiple occasions in an attempt to collect the debt. The debt collection attempts
include letters dated January 11, 2012 and June 27, 2012.

V. FIRST CLAIM FOR RELIEF

8. All facts and allegations of this Complaint are incorporated herein by reference.

9. Defendant violated the FDCPA. Defendant’s violations include, but are not limited to, the
following:

a. Defendant violated 15 U.S.C. § 1692c(a)(2) by contacting Bonifield when it was
known, or should have been known, he Was being represented by an attorney;

10. As a result of the above violations of the FDCPA, the Defendant is liable to the Plaintiff for
actual damages, statutory damages, costs, and attorney’s fees.

VI. RELIEF REQUESTED
WHEREFORE, Plaintiff respectfully requests judgment be entered against the

Defendant for the following:

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A. Actual damages pursuant to 15 U.S.C. § 1692k;
B. Statutory damages pursuant to 15 U.S.C. § 1692k;
C. Costs and reasonable attorney’s fees pursuant to 15 U.S.C. § 1692k; and
D. For such other relief as the Court deems appropriate in the circumstances
V[l. SECOND CLAIM FOR RELIEF
ll. All facts and allegations of this Complaint are incorporated herein by reference
12. Defendant violated Iowa’s Debt Collection Practices Act. Defendant’s violations include but
are not limited tot
a. Defendant violated lowa Code § 537.7103(5)(e) by contacting Bonifleld when it was
known, or should have been known, he was being represented by an attorney.
13. As a result of the above violations of the lowa Code, the Defendant is liable to the Plaintiff
for statutory damages, actual damages, costs and attorney’s fees.
VIII. RELIEF REQUESTED
WHEREFORE, Plaintiff respectfully requests judgment be entered against the
Defendant for the following:
A. Actual damages pursuant to lowa Code § 53 7.5201(1);
B. Statutory damages pursuant to lowa Code § 537.5201(1);
C. Costs and reasonable attorney’s fees pursuant to lowa Code § 537.5201(1);

D. For such other relief as the Court deems appropriate in the circumstances

Respectfully submitted,

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